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4
     Local Counsel for Defendant Trans Union, LLC
5

6
                           UNITED STATES DISTRICT COURT
7                     WESTERN DISTRICT OF WASHINGTON (SEATTLE)

8
     KEIKO HARADA,                                   CASE NO.
9
            Plaintiff,
10
          vs.                                        TRANS UNION LLC’S RULE 7.1
11                                                   CORPORATE DISCLOSURE
     COMCAST CABLE COMMUNICATIONS,                   STATEMENT
12   LLC, a Delaware Corporation; TRANS
     UNION LLC, a Delaware Limited
13   Liability Company; and SOUTHWEST
     CREDIT SYSTEMS, LP;
14              Defendants.

15
          Defendant Trans Union LLC, by counsel, pursuant to Rule 7.1 of the Federal Rules of Civil
16

17   Procedure, states as follows:

18          TransUnion LLC discloses that the following parent corporations and publicly held

19   companies own 10% or more of its stock: Trans Union LLC is a wholly owned subsidiary of
20
     TransUnion Intermediate Holdings, Inc. TransUnion Intermediate Holdings, Inc. is wholly
21
     owned by TransUnion. TransUnion is a publicly traded entity with the ticker symbol TRU.
22
     Investment funds affiliated with T. Rowe Price Group, Inc., a publicly-traded entity with the
23
     ticker symbol TROW, own more than 10 percent of TransUnion’s stock.
24

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     TRANS UNION, LLC’S RULE 7.1 CORPORATE                             RANALLO LAW OFFICE
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     DISCLOSURE STATEMENT – Case No.                                    SEATTLE, WA 98118
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               Case 2:22-cv-01097 Document 2 Filed 08/05/22 Page 2 of 3



1                                            Respectfully submitted,
2
                                             RANALLO LAW OFFICE
3

4
                                             s/ Nicholas Ranallo
5                                            Nicholas Ranallo, Esq.
                                             WA State Bar No. 51439
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7
                                             Local Counsel for Defendant Trans Union,
                                             LLC
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                   Case 2:22-cv-01097 Document 2 Filed 08/05/22 Page 3 of 3



1                                   CERTIFICATE OF SERVICE

2         The undersigned hereby certifies that a copy of the foregoing has been filed electronically
3
     on the 5th day of August, 2022. Notice of this filing will be sent to the following parties by
4
     operation of the Court’s electronic filing system. Parties may access this filing through the
5
     Court’s electronic filing.
6
     None.
7

8         The undersigned further certifies that a true copy of the foregoing was served on the

9    following parties via First Class, U.S. Mail, postage prepaid, and or email, on the 5th day of

10   August, 2022, properly addressed as follows:
11
     for Plaintiff Keiko Harada
     Robert Mitchell, Esq.
12
     Robert Mitchell, Attorney at Law
     1020 N. Washington
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     Spokane, WA 99201
     bobmitchellaw@gmail.com
14

15

16
                                                         s/ Nicholas Ranallo
17
                                                         Nicholas Ranallo, Esq.
18
                                                          WA State Bar No. 51439

19                                                       Local Counsel for Defendant Trans Union,
                                                         LLC
20

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     TRANS UNION, LLC’S RULE 7.1 CORPORATE                               RANALLO LAW OFFICE
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